       Case 1:21-mc-00178-VSB           Document 33       Filed 04/01/22      Page 1 of 1



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April 1, 2022

VIA ELECTRONIC FILING

The Honorable Vernon S. Broderick
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square
New York, New York 10007

       Re:      Ex Parte Application of Agency for Policy Coordination on State Prop., et al., No.
                21-mc-178 (VSB)

Dear Judge Broderick:

        I write respectfully on behalf of Petitioners the Agency for Policy Coordination on State
Property, Erdenes Oyu Tolgoi LLC, and Erdenet Mining Corporation in further update to the
Court as stated in my letter to the Court dated March 16, 2022 (Dkt. 13) and the Court’s order of
March 17, 2022 (Dkt. 14). While we continue to communicate with the Office of the Prosecutor
General concerning the developments described in my March 16 letter (and assess an additional
document provided only in Mongolian from Mr. Batbold’s counsel this morning, which counsel
states came from the Prosecutor General) we have today filed a Notice of Voluntary Dismissal
Without Prejudice pursuant to Fed. R. Civ. P. 41 (Dkt. 32).

Sincerely,

/s/ J. Emmett Murphy

J. Emmett Murphy

cc:    All Counsel of Record (via ECF)
